Case 4:10-cr-40018-JPG         Document 26      Filed 04/28/10     Page 1 of 1     Page ID #33




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS
                                           ******
 UNITED STATES OF AMERICA,                          )             CRIMINAL N0: 10-40018
                                                    )
                                                    )             MINUTES OF COURT
                      Plaintiff,                    )
                                                    )
 vs.                                                )             DATE: 4/28/2010
                                                    )
CAROLYN REA and                                     )
MELANIE A. HAAS,                                    )
                                                    )
                                                    )
Defendant(s).                                       )

 PRESENT: J. PHIL GILBERT, DISTRICT JUDGE
 DEPUTY CLERK: K. Jane Reynolds                     COURT REPORTER: N/A
 COUNSEL FOR PLAINTIFF(S): N/A
 COUNSEL FOR DEFENDANT(S): N/A
 MINUTE ORDER IN CHAMBERS: (X )
PROCEEDINGS:
TIME:
  This matter is before the court for purposes of case management and calendar control.
 It is hereby ORDERED that this matter is STRICKEN from the 5/13/2010 docket and reset for final
pre-trial on 5/20/2010 at 9:30 a.m. in Benton, IL for the above styled defendants.




                                                    NANCY ROSENSTENGEL, CLERK

                                                    By: s/ K. Jane Reynolds
                                                    Deputy Clerk
